 

Case 1:22-mj-00956-CMS Document5 Filed 11/14/22 Page 1 of 1 neo oh COURT
ote hetee “AUG

NOV T 4 2027

AO 470 (Rev. 8/85) Order of Temporary Detention Tee
By
puty Cl

UNITED STATES DISTRICT COURT
NORTHERN District of GEORGIA

 

 

UNITED STATES OF AMERICA ORDER OF TEMPORARY DETENTION

PENDING HEARING PURSUANT TO
V. BAIL REFORM ACT

WILLIAM ALLEN LIEBISCH Case Number: 1:22-mj-956

 

 

 

 

 

Defendant
Upon motion of the U. S. GOVERNMENT , itis ORDERED that a
November 18, 2022 10:00 a.m.
detention hearing is set * at
Date Time
before JUSTIN S. ANAND
Name of Judicial Officer

Courtroom 1875, U. S. Courthouse 75 Ted Turner Drive, S.W., Atlanta, GA 30303

 

Location of Judicial Officer
Pending this hearing, the defendant shall be held in custody by (the United States Marshal)

and produced for the

 

Other Custodial Official

 

Date: _November 14, 2022

 

ii --
VY Judicial Officer

*If not held immediately upon defendant’s first appearance, the hearing may be continued for up to three days upon motion of the Government, or up
to five days upon motion of the defendant. 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (1) sets forth the grounds that may be
asserted only by the attorney for the Government; subsection (2) states that a hearing is mandated upon the motion of the attorney for the Government
or upon the judicial officer’s own motion if there is a serious risk that the defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or
threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate a prospective witness or juror.

 

 
